         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2022-2845
                 LT Case No. 2020-303632-CFDB
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STEPHEN ALLEN,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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On appeal from the Circuit Court for Volusia County.
Bryan A. Feigenbaum, Judge.

Michael C. Nappi, Office of Criminal Conflict and Civil Regional
Counsel, Casselberry, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Daniel
Caldwell, Assistant Attorney General, Daytona Beach, for
Appellee.

                        August 20, 2024


PER CURIAM.

    AFFIRMED.

SOUD, BOATWRIGHT, and MACIVER, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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